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                               12

                               13
                                                                   UNITED STATES DISTRICT COURT
                               14
                                                                   CENTRAL DISTRICT OF CALIFORNIA
                               15

                               16      KEN AND MARLA SALTZSTINE,                          No.
                                       individually
                               17
                                                     Plaintiffs,                          COMPLAINT FOR DAMAGES
                               18                                                           1. Breach of Contract;
                                             vs.                                            2. Violation of Civil Code § 2100 et.
                               19                                                              seq.;
                                       PRINCESS CRUISE LINES, LTD., a                       3. Negligence; and
                               20      Bermuda corporation,                                 4. Gross Negligence.
                               21                    Defendant.
                                                                                          JURY TRIAL REQUESTED
                               22
                                                                                   /
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                               24

                               25            Plaintiffs, by and through their undersigned counsel, hereby sue Defendant, PRINCESS
                               26      CRUISE LINES LTD. (hereinafter, “PRINCESS”), and allege as follows:
                               27      ///
                               28      ///

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                                   1                                    PARTIES AND JURISDICTION

                                   2          1.      This is an action seeking damages in excess of $500,000.00 (Five Hundred

                                   3   Thousand Dollars) exclusive of interest, costs, and attorney's fees.

                                   4          2.      This Court has diversity subject matter jurisdiction pursuant to 28 U.S.C. § 1332 as

                                   5   this is a civil action in which the matter in controversy exceeds the sum or value of $75,000,

                                   6   exclusive of interest and costs, and is between citizens of different States and/or citizens of a State

                                   7   and citizens or subjects of a foreign state.

                                   8          3.      This Court also has Admiralty subject matter jurisdiction pursuant to 28 U.S.C. §

                                   9   1333 as this case involves a maritime tort. The type of incident and injuries suffered by Plaintiffs

                               10      had the potential to impact maritime commerce as Plaintiffs were subjected to a serious risk of

                               11      imminent harm as a result of being exposed to the Coronavirus running rampant aboard the cruise

                               12      ship upon which they were paying passengers.

                               13             4.      Plaintiff KEN SALTZSTINE, sui juris, is a resident of the city of El Sobrante,

                               14      County of Contra Costa, in the State of California, and was a passenger onboard the Grand

                               15      Princess.

                               16             5.      Plaintiff MARLA SALTZSTINE, sui juris, is a resident of the city of El Sobrante,

                               17      County of Contra Costa, in the State of California, and was a passenger onboard the Grand

                               18      Princess. (KEN and MARLA SALTZSTINE shall collectively be referred to herein as

                               19      “PLAINTIFFS”.)

                               20             6.      Princess Cruise Lines LTD. is incorporated in Bermuda, with its headquarters in

                               21      Santa Clarita, California. The action is being filed in this Court pursuant to the terms and

                               22      conditions of the Passenger Contract issued by Defendant, Princess Cruise Lines Ltd.

                               23             7.      At all times hereto, PRINCESS owned and operated the cruise ship the Grand

                               24      Princess.

                               25             8.      This Court has personal jurisdiction over PRINCESS as PRINCESS' principle

                               26      place of business is located in Los Angeles County, Los Angeles.

                               27             9.      PRINCESS conducts substantial business within the state of California, including

                               28      operating cruises from ports in San Francisco, San Diego, and Los Angeles.

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                                   1          10.     PRINCESS markets cruise vacations to California residents and employs thousands

                                   2   of California residents to work at its California headquarters.

                                   3          11.     PLAINTIFFS were passengers aboard the Grand Princess which departed out of

                                   4   San Francisco on February 21, 2020 and had been quarantined on said ship through Tuesday,

                                   5   March 10, 2020, and then for an additional fourteen (14) days at Travis Air Force Base, as a result

                                   6   of an outbreak of COVID-19.

                                   7                                       FACTUAL BACKROUND

                                   8          12.     In the recent months, there has been a worldwide outbreak of a new strain of the

                                   9   Corona virus, commonly known as COVID-19. The virus began in China in December 2019, and

                               10      has quickly spread throughout Asia, Europe and most recently, North America. The virus causes

                               11      temperature, a dry cough, and can be fatal. There have been over Six Million cases worldwide and

                               12      over Three Hundred Thousand deaths as a result of COVID-19. Those fatalities have largely been

                               13      amongst the elderly population, and those with underlying medical complications.

                               14             13.     COVID-19 gained the attention of the public when the Diamond Princess cruise

                               15      ship, also owned and operated by PRINCESS, suffered an outbreak of the disease at the beginning

                               16      of February 2020 in Yokohama, Japan. The outbreak began with ten cases, and rapidly multiplied

                               17      to seven hundred cases, as a result of the flawed two-week quarantine on the ship. The Center for

                               18      Disease Control, (CDC) issued a statement on February 18, 2020, that “the rate of new reports of

                               19      positives new on board, (Diamond Princess), especially among those without symptoms,

                               20      highlights the high burden of infection on the ship and potential for ongoing risk.”

                               21             14.     Having experienced such an outbreak on board one of its vessels less than a month

                               22      prior to the voyage on board the Grand Princess, PRINCESS should have taken all necessary and

                               23      reasonable precautions to keep its passengers, crew, and the general public safe. Unfortunately,

                               24      PRINCESS failed to do so and PLAINTIFFS have been harmed due to PRINCESS’ negligence.

                               25                                         GENERAL ALLEGATIONS

                               26             15.     PLAINTIFFS purchased for consideration from PRINCESS passenger tickets

                               27      (Booking Reference CM6XWN). Said tickets provided that PLAINTIFFS would be passengers on

                               28      board PRINCESS’ vessel “GRAND PRINCESS” (vessel number A006), and that PRINCESS

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                                   1   would be a common carrier and provide transportation for PLAINTIFFS, and transport

                                   2   PLAINTIFFS from San Francisco to Hawaii, then Mexico, and back to San Francisco. Said

                                   3   passenger tickets were provided from PRINCESS to PLAINTIFFS. The duration of the trip was to

                                   4   be from February 21, 2020 through March 7, 2020.

                                   5          16.     On or about February 21, 2020, PLAINITFFS boarded the vessel and became

                                   6   passengers on said vessel. PLAINTIFFS are informed and believe and thereon allege that

                                   7   PRINCESS should not have allowed any person to board the vessel based on the level of illness on

                                   8   the previous cruise. PRINCESS knew or should have known that individuals were sick on the

                                   9   vessel’s previous cruise and should not have had any passengers board this vessel and should not

                               10      have embarked on this trip due to the high risk of infection from COVID-19.

                               11             17.     PLAINTIFFS are both diabetic and over the age of sixty-five, placing them in the

                               12      high risk category, and were quarantined for four and a half days on the vessel with sporadic

                               13      mealtimes, which resulted in varying sugar levels and physical harm to PLAINTIFFS. Moreover,

                               14      PLAINTIFFS ordered extra medication on the vessel, which was promised but never received,

                               15      resulting in physical harm to PLAINTIFFS.

                               16             18.     Although the original disembarkation was to be March 7, 2020, PLAINTIFFS did

                               17      not disembark until March 10, 2020 and their temperatures were not taken until they were off the

                               18      vessel. Moreover, PRINCESS then provided bussing services to Travis Air Force Base, without

                               19      following any social distancing requirements, thereby failing to ensure the safety of its passengers,

                               20      including PLAINTIFFS.

                               21             19.     Once PLAINTIFFS arrived at Travis Air Force Base, they were put into a fourteen

                               22      (14) day mandatory Center for Disease Control quarantine. However, this was not accomplished

                               23      given that the meals were given in the lobby area all together. The testing for COVID-19 that

                               24      occurred was disjointed and mismanaged, and evacuees were not provided with temperature tests

                               25      in an orderly fashion.

                               26             20.     As a result of PRINCESS’ breach of its contractual duties, as well as the duties

                               27      owed as a common carrier, and as a result of its negligence and carelessness, PLAINTIFFS

                               28      sustained personal injuries.

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                                   1            21.   As a direct, legal, and proximate result of PRINCESS’ carelessness, negligence,

                                   2   breach of duty, and breach of contract of carriage, PRINCESS has caused PLAINTIFFS to sustain

                                   3   injuries and damages, medical care, pain and suffering, residual disability, continuing medical

                                   4   care, and future pain and suffering which will continue and which has caused PLAINTIFFS

                                   5   significant damages.

                                   6                                                  COUNT I

                                   7                                             (Breach of Contract)

                                   8            22.   PLAINTIFFS re-allege all allegations in paragraphs 1 through 21, inclusive, as

                                   9   though fully set forth herein.

                               10               23.   By and through the purchase of a ticket PLAINTIFFS and PRINCESS entered into

                               11      a contract whereby PRINCESS was to perform certain duties in exchange for the monies received

                               12      from PLAINTIFFS.

                               13               24.   PLAINTIFFS performed all duties required of them under the contract.

                               14               25.   PRINCESS breached the contract by failing to warn PLAINTIFFS of the risk of

                               15      COVID-19, improperly disembarking despite knowing the risk, and disregarding the safety and

                               16      health of PLAINTIFFS on board, as well as during the transportation to and relative to the time at

                               17      Travis Air Force Base.

                               18               26.   As a direct and proximate result of PRINCESS’ breach, PLAINTIFFS have been

                               19      damaged in an amount to be shown according to proof at trial.

                               20               27.   WHEREFORE, PLAINTIFFS pray for judgment against PRINCESS as set forth

                               21      below.

                               22                                                     COUNT II

                               23                                       (Violation of Civil Code § 2100 et seq.)

                               24               28.   PLAINTIFFS re-allege all allegations in paragraphs 1 through 27, inclusive, as

                               25      though fully set forth herein.

                               26               29.   PRINCESS owed a duty of utmost care of a very cautious person towards its

                               27      passengers as well as a duty of vigilance of a very cautious person towards its passengers.

                               28      PRINCESS is responsible for any, even the slightest, negligence and is required to do all that

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                                   1   human care, vigilance, and foresight reasonably can do under all the circumstances. PRINCESS

                                   2   was under a duty to use reasonable skill to provide everything necessary for safe transportation.

                                   3   Based on a recognition that the privilege of serving the public as a common carrier necessarily

                                   4   entails great responsibility, requiring common carriers to exercise a high duty of care towards their

                                   5   customers is necessary.

                                   6          30.     PRINCESS breached the duty owed to PLAINTIFFS by allowing the vessel to

                                   7   disembark, despite the known risk of infection from the outbreak of COVID-19 on the previous

                                   8   ship. Moreover, PRINCESS breached the duty of a common carrier by failing to adequately warn

                                   9   its passengers, including PLAINTIFFS of the risk of infection, despite being fully aware of the

                               10      previous infection rate. PRINCESS further breached this duty by failing to ensure the safety of its

                               11      passengers, including PLAINTIFFS, while on board the vessel, during the transportation to Travis

                               12      Air Force Base, and throughout the subsequent quarantine.

                               13             31.     As a direct and proximate result of PRINCESS’ breach of its duty as a common

                               14      carrier, PLAINTIFFS have been harmed and PRINCESS caused PLAINTIFFS to sustain injuries

                               15      and damages, including being quarantined away from their home at Travis Air Force Base, as well

                               16      as medical care, pain and suffering, residual disability, continuing medical care, and past and

                               17      future pain and suffering, which will continue and which has caused PLAINTIFFS significant

                               18      damages.

                               19             32.     WHEREFORE, PLAINTIFFS pray for judgment against PRINCESS as fully set

                               20      forth below.

                               21                                                  COUNT III

                               22                                                 (Negligence)

                               23             33.     PLAINTIFFS re-allege all allegations in paragraphs 1 through 32, inclusive, as

                               24      though fully set forth herein.

                               25             34.     PRINCESS owed PLAINTIFFS, who were paying passengers that boarded the

                               26      vessel, the duty to ensure that they would not be exposed to unreasonable risk of harm that

                               27      PRINCESS knew or should have known about while sailing on its vessel.

                               28      ///

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                                   1             35.   PRINCESS breached its duty in that it had knowledge that at least one of its

                                   2   passengers from the prior voyage who disembarked February 21, 2020 had symptoms of

                                   3   coronavirus, and yet decided to continue sailing the voyage that began on February 21, 2020 with

                                   4   another three thousand passengers on an infected ship.

                                   5             36.   Specifically, PRINCESS was aware of at least two passengers who disembarked its

                                   6   ship on February 21, 2020 in San Francisco had symptoms of the coronavirus. It went as far as to

                                   7   send emails on February 25, 2020 to passengers who boarded the vessel, notifying them of the

                                   8   potential of exposure to the coronavirus while onboard their cruise.

                                   9             37.   There are at least sixty-two passengers on board the PLAINTIFFS' cruise, who

                               10      were also on the prior voyage, who were exposed to the passengers that were confirmed to be

                               11      infected, and later died.

                               12                38.   In continuing to sail with another three thousand passengers, including

                               13      PLAINTIFFS on February 21, 2020, knowing that some of those passengers and crew had already

                               14      been exposed to COVID-19, PRINCESS exposed PLAINTIFFS to an actual risk of immediate

                               15      physical injury and a fear of contracting COVID-19, especially given that PLAINTIFFS are both

                               16      in the high risk category group.

                               17                39.   PRINCESS was further negligent in failing to have proper screening protocols for

                               18      COVID-19 prior to boarding the passengers on the vessel. Despite the knowledge and experience

                               19      it had with the outbreak on the Diamond Princess three weeks prior, PRINCESS did not have

                               20      proper screening protocol in place to minimize the risk of exposure of the disease to its passengers

                               21      and crew.

                               22                40.   Prior to boarding the vessel, passengers were only asked to fill out a piece of paper

                               23      confirming they were not sick. No passengers were examined in any capacity. Moreover, out of

                               24      those sixty-two passengers or crew members who were infected, none were examined during the

                               25      voyage until being tested for the virus on Thursday March 5, 2020, two weeks after the ship

                               26      sailed.

                               27                41.   As a result of the Defendant's failure to ensure the safety of PLAINTIFFS, its

                               28      passengers, and crew aboard the vessel, including PLAINTIFFS, have been damaged.

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                                   1            42.   Moreover, PRINCESS was negligent in failing to adequately warn PLAINTIFFS

                                   2   about the potential exposure to COVID-19 prior to boarding the ship on February 21, 2020, and

                                   3   again during the voyage. PRINCESS had actual knowledge of at least two passengers who sailed

                                   4   on its ship the week prior, disembarked with symptoms of coronavirus, and one confirmed death

                                   5   as a result. PRINCESS also knew that there were sixty-two passengers and crew who were

                                   6   onboard that same sailing and failed to inform PLAINTIFFS at any time prior to boarding or while

                                   7   they were already onboard, that there was a high risk of exposure to COVID-19. In addition,

                                   8   PRINCESS failed to inform PLAINTIFFS that a crew member aboard their cruise disembarked in

                                   9   Hawaii as a result of coronavirus.

                               10               43.   If PLAINTIFFS had knowledge of this actual risk of exposure prior to boarding,

                               11      they would have never boarded the ship. If they were informed of the risk on February 25, 2020,

                               12      when the former passengers were notified by email, PLAINTIFFS would have disembarked at the

                               13      first port of call in Honolulu on February 26, 2020. Due to PRINCESS’ negligence in failing to

                               14      warn PLAINTIFFS of the actual risk of exposure to COVID-19 aboard its infected ship,

                               15      PLAINTIFFS were quarantined in their cabin, without access to meals to properly control their

                               16      diabetes, along with the rest of the passengers and crew, off the coast of San Francisco, anxiously

                               17      awaiting their fate, until they were transferred to Travis Air Force Base where they remained

                               18      quarantined and, due to a lack of organization, were further at risk.

                               19               44.   As a direct and proximate result of this negligence of PRINCESS, in exposing them

                               20      to actual risk of immediate physical injury, PLAINTIFFS suffered and continue to suffer from

                               21      emotional distress, are traumatized from the experience, and this emotional harm will continue to

                               22      plague them. PRINCESS caused PLAINTIFFS to sustain injuries and damages, medical care, pain

                               23      and suffering, residual disability, continuing medical care, and future pain and suffering which

                               24      will continue and which has caused PLAINTIFFS significant damages.

                               25               45.   WHEREFORE, PLAINTIFFS pray for judgment against PRINCESS as set forth

                               26      below.

                               27      ///

                               28      ///

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                                   1                                                  COUNT IV

                                   2                                            (Gross Negligence)

                                   3            46.   PLAINTIFFS re-allege all allegations set forth in paragraphs 1 through 45,

                                   4   inclusive, as though fully set forth herein.

                                   5            47.   PRINCESS’ conduct in deciding to allow PLAINTIFFS to board the vessel and

                                   6   continue to sail with PLAINTIFFS on board, knowing that the ship was infected from two

                                   7   previous passengers who came down with symptoms of COVID-19, and had sixty-two passengers

                                   8   on board with PLAINTIFFS who were previously exposed to those two infected individuals, along

                                   9   with the prior crew, shows a lack of any care on the part of PRINCESS, and a complete disregard

                               10      for the safety of PLAINTIFFS, amounting to gross negligence.

                               11               48.   PRINCESS knew how dangerous it was to expose PLAINTIFFS and the rest of its

                               12      passengers to COVID-19 in light of its experience with the Diamond Princess three weeks prior.

                               13      However, PRINCESS departed from what a reasonably careful cruise line would do under the

                               14      circumstances in allowing PLAINTIFFS to board and continuing to sail with PLAINTIFFS

                               15      despite these grave risks.

                               16               49.   Moreover, PRINCESS’ conduct in failing to warn PLAINTIFFS of their actual risk

                               17      of harm in being exposed to COVID-19, either prior to boarding or while they were already on

                               18      board, in light of the prior passenger who came down with symptoms who ended up dying, along

                               19      with others who came down with symptoms from that prior voyage, and the crew member who

                               20      disembarked during this voyage from the virus, amounts to an extreme departure of what a

                               21      reasonably careful cruise line would do.

                               22               50.   PRINCESS chose to place profits over the safety of its passengers, crew, and the

                               23      general public in continuing to operate business as usual, despite their knowledge of the actual risk

                               24      of injury to PLAINTIFFS.

                               25               51.   WHEREFORE, PLAINTIFFS pray for judgment against PRINCESS as set forth

                               26      below.

                               27      ///

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                                   1                                          PRAYER FOR RELIEF

                                   2            WHEREFORE, PLAINTIFFS pray for judgment against PRINCESS, as follows:

                                   3                 1. For damages in an amount according to proof for PLAINTIFF's personal injuries,

                                   4                     medical care, in the form of general and special damages, in an amount according

                                   5                     to proof, but in excess of $500,000.00.

                                   6                 2. An award of compensatory damages allowed by contract, law, and equity in an

                                   7                     amount according to proof;

                                   8                 3. Pre-judgment and post-judgment interest on all sums awarded, at the maximum

                                   9                     legal rate;

                               10                    4. Damages for investigation costs and expenses and for dispute resolution

                               11                        facilitators, special masters, discovery referee, and technical fees and costs as

                               12                        provided by law;

                               13                    5. Costs, including attorneys’ fees, incurred in this action as provided by statute,

                               14                        contract, or common law; and

                               15                    6. For such other and further relief as the Court may deem just and proper.

                               16

                               17      Date: June 4, 2020                               BERDING & WEIL LLP
                               18
                                                                                        By:____________________________________
                               19                                                         Daniel L. Rottinghaus
                                                                                          Scott M. Mackey
                               20                                                         Seema N. Kadaba
                                                                                          Attorneys for Plaintiffs
                               21                                                         KEN AND MARLA SALTZSTINE
                               22

                               23

                               24      Date: June 4, 2020                               LAW OFFICES OF GARY A. ANGEL

                               25
                                                                                        By:_____/S/___________________________
                               26                                                         Gary A. Angel
                                                                                          Attorneys for Plaintiffs
                               27                                                         KEN AND MARLA SALTZSTINE

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